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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


JOSEPH SCLAFANI, MICHAEL FEINSTEIN,
and BRET CAPPOLA,

                    Plaintiffs,

CAROL A. MICI, in her official capacity as
Commissioner of the Massachusetts Department     C.A. No.
of Corrections,
DOUGLAS DEMOURA, in his official capacity
as Superintendent of MCI-Cedar Junction, and
STEVE SILVA, in his official capacity as
Superintendent of MCI-Norfolk,

                   Defendants.
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                         DECLARATION QF MELISSA SCLAFANI

Pursuant to 28 U.S.C. § 1746, I, Melissa Sclafani, declare as follows:
1. I am the wife of Joseph Sclafani. I live in Gloucester, Massachusetts.
2. Joe and I met in 2009. Our parents lived down the street from each other, but we didn't meet
   until my best friend, who is Joe's cousin, introduced us. We got married on September 3,
   2011.
3. I know what a difference suboxone makes for Joe, because I have been married to him both
   in periods of active addiction and in suboxone-assisted recovery.
4. When Joe was on drugs, he was a completely different person. He was not the person I
   married. He was someone who semi-resembled the person I love, but he was not physically,
   mentally, or emotionally present. Nothing was important to him when he was in active
   addiction. He did not care about anything at all. He was like a shell of a person.
5. It is terrifying to watch the person you love hurt themselves like that. When Joe was in active
   addiction, I experienced constant anxiety that I would get a phone call that he had been
   arrested, or worse, that he was dead. I would sometimes stay up all night wondering ifhe was
   breathing. I found myself doing things I thought I would never do. I would lie to friends and
   family so that people didn't judge him. I felt so alone, but I couldn't talk to the one person I
   wanted to talk to about it, because that person was Joe.
6. I watched Joe try so many treatment methods that did not work for him. I have seen him try
   straight detoxification many times. Often, nothing really changed when he went to detox.
   Within a couple of days, he would be using again, and then he would slide right back into
   full-blown active addiction. Sometimes he did manage to abstain from opioids for a period of
   time. During those periods when Joe was abstaining from opioids, but was not taking
   medication for addiction treatment, I knew that he was still wlnerable to relapse because his
   cravings were still there, and I was constantly scared that he would use drugs again.
7. Joe tried methadone, but it did not work well for him because he did not feel or act normal
   when he was on methadone.
8. I used to be skeptical of what I used to call "drug replacement therapy." I thought it was just
   replacing one drug for another. But Joe's success with suboxone treatment proved me wrong.
   Now I understand that addiction is a brain disease that requires medication like any other
   disease.
9. I know that Joe tried suboxone in the past, but for some reason, it did not work for him then.
   This time it was completely different. I saw him take his recovery extremely seriously. He
   took initiative in his own treatment and I could tell he really cared about staying in active·
   recovery. He felt good about the progress he had made.
10. When Joe started receiving suboxone treatment, he became the man I married again. He
   was the person I fell in love with - attentive, present, honest, and sincere. I had a partner
   again.
11. Joe and I have a four-year-old son. Our son adores Joe. Everything Joe does, our son
   watches. When Joe is in active recovery, he is an incredible father. He is understanding and
   patient. He is active and always on the ground playing with our son. All I've wanted is to
   give my son a father figure, and he finally got one when Joe started getting suboxone
   treatment.
12. Our son has ADHD, and because I know that addiction has a genetic component, I am
   scared that one day he will struggle with addiction like Joe has. When Joe is getting the
   proper treatment, he sets an example for how to manage the disease of addiction by taking
   medication the right way and not filling the void with something else. Joe in suboxone
   treatment is an example I want to show my kid.
13. I understand that Joe has to do the time for the crime he committed. But I do not understand
   why he should not be allowed to stay on his medication.
14. I know from experience how terrible Joe feels when he is in withdrawal. I am concerned
   that, if Joe is not receiving buprenorphine treatment, he could respond poorly to the stresses
   of incarceration and that he might get in trouble. I am worried that he will be put in
   segregation, and then my son and I won't even be able to talk to him over the phone.
15. When I think about the fact that the Massachusetts Department of Correction forced Joe off
   his medication, my mind races to all the drugs that are in prison. I know that, for Joe, being
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   in prison without suboxone is unsafe. I am terrified that Joe will relapse or even die in prison.
   After our son has waited all this time to be reunited with his father, I cannot imagine telling
   him that his dad is dead.
16. Our family was healing. I don't know why the Department of Correction would take that
   away from our four-year-old son.
17. I need my husband to come home alive. My son needs him to come home alive.
Executed on December_. 2019
